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2                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
3                                    SAN JOSE DIVISION
4
     FEDERAL TRADE COMMISSION,
5
                Plaintiff,
6
          v.                                 Case No. 5:22-cv-04325-EJD
7
     META PLATFORMS, INC., et al.,           [PROPOSED] JOINT STIPULATED
8                                            DISCOVERY PLAN AND BRIEFING
                Defendants.                  SCHEDULE
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1    [PROPOSED] JOINT STIPULATED DISCOVERY PLAN AND BRIEFING SCHEDULE

2           Plaintiff Federal Trade Commission (“FTC” or “Commission”) has met and conferred

3    with Defendants Meta Platforms, Inc. (“Meta”) and Within Unlimited, Inc. (“Within”)

4    (collectively, “Defendants”) as required under Civil Local Rule 16-3. The FTC, Meta, and

5    Within jointly submit this [PROPOSED] JOINT STIPULATED DISCOVERY PLAN AND

6    BRIEFING SCHEDULE pursuant to the Standing Order for All Judges of the Northern District

7    of California and Civil Local Rule 16-9. This submission supplements the parties’ Joint

8    Stipulated Case Management Order filed on August 12, 2022.

9    A.     DISCOVERY SCHEDULE

10          1. The parties’ stipulated discovery and briefing schedule is attached as Exhibit A.

11   B.     FACT DISCOVERY

12          1. Discovery Disputes. In order to ensure that all discovery disputes, including with

13              non-parties, are resolved expeditiously and in a manner consistent with this Court’s

14              schedule in this proceeding, the parties respectfully request that all motions to compel

15              and/or motions to quash in this case be presented to Magistrate Judge van Keulen for

16              prompt resolution pursuant to procedures she shall adopt for that purpose.

17          2. Document Requests and Production. No more than 25 document requests shall be

18              served on any named party or non-party. The parties shall serve any objections to

19              requests for the production of documents no later than seven (7) calendar days after

20              the date of service of the document requests to which they assert objections. Within

21              three (3) calendar days of service of any such objections, the parties shall meet and

22              confer in a good faith attempt to resolve the objections. The parties shall make good

23              faith efforts to substantially comply with requests for production no later than thirty

24              (30) calendar days after the date of service, provided that rolling productions begin

25              within twenty-one (21) calendar days of service.

26          3. Interrogatories. The parties shall serve no more than 10 interrogatories per side. The

27              parties shall serve objections and responses to interrogatories no later than fourteen

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1            (14) calendar days after the date of service. Within three (3) calendar days of service

2            of any such objections, the parties shall meet and confer in a good faith attempt to

3            resolve the objections.

4         4. Exchange of Final Lists of Fact Witnesses to Appear at Hearing. Final fact witness

5            lists shall be exchanged on or before 5:00 p.m. Eastern time on the date listed in

6            Exhibit A for exchange of final fact witness lists. Final fact witness lists shall

7            summarize the general topics of each witness’s anticipated testimony. Only witnesses

8            previously identified in the preliminary fact witness lists and/or deposed in the matter

9            shall be permitted on the final fact witness lists. The final fact witness lists shall

10           represent a good faith effort to identify all fact witnesses the producing party expects

11           that it may present at the evidentiary hearing, other than solely for impeachment.

12           Additional witnesses may be added to the final witness list after the date for exchange

13           of final fact witness lists in Exhibit A only by agreement of the parties or with leave

14           of the Court for good cause shown. No witness shall be permitted at trial unless the

15           opposing side had a reasonable opportunity to depose the witness before trial.

16        5. Depositions.

17               a. Number of Depositions. Each side may depose any witness who (i) is listed

18                   on either side’s preliminary witness list; (ii) is listed on the other side’s final

19                   party or non-party witness lists; or (iii) provides a declaration or affidavit.

20                   Notwithstanding the foregoing, each side may take a maximum of twenty-five

21                   (25) depositions, including 30(b)(6) depositions, of non-party witnesses.

22                   Additional depositions of fact witnesses shall be permitted only by agreement

23                   of the parties or by leave of the Court for good cause shown. The parties shall

24                   use reasonable efforts to reduce the burden on witnesses noticed for

25                   depositions and to accommodate the witness’s schedule.

26               b. Allocation of Time. All depositions, including depositions of fact and expert

27                   witnesses, including 30(b)(6) depositions, shall last no more than seven (7)

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1                   hours on the record, except (i) if both Plaintiff and Defendants notice any non-

2                   party fact deposition, the deposition will be ten (10) hours and will be divided

3                   equally between the sides, although if either side uses fewer than two hours to

4                   question the witness, the other party may use half of the unused time; and (ii)

5                   if either Plaintiff or Defendants has obtained a sworn declaration from the

6                   deponent, the maximum time shall be allocated five (5) hours to the side that

7                   did not obtain the declaration, and two (2) hours for the side that obtained the

8                   declaration. For purposes of this Joint Stipulated Discovery Plan and Briefing

9                   Schedule, former employees, consultants, agents, contractors, or

10                  representatives of the parties are considered party witnesses. Unused time in

11                  any side’s allocation of deposition time shall not transfer to the other side.

12   C. EXPERT DISCOVERY

13        1. Expert Depositions. One seven-hour deposition of each expert shall be allowed.

14        2. Expert Materials Not Subject to Discovery. Expert disclosures, including each side’s

15           expert reports, shall comply with the requirements of Federal Rule of Civil Procedure

16           26(a)(2), except as modified herein:

17           a. Neither side must preserve or disclose, including in expert deposition testimony,

18               the following documents or materials:

19                       i.   any form of communication or work product shared between any of

20                            the parties’ counsel and their expert(s) or consultants, or between

21                            any of the experts or consultants themselves;

22                      ii.   any form of communication or work product shared between an

23                            expert(s) and persons assisting the expert(s);

24                     iii.   expert’s notes, unless they are expressly relied upon and/or cited in

25                            support of an opinion or fact;

26                     iv.    drafts of expert reports, analyses, or other work product; or

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1                      v.      data formulations, data runs, data analyses, or any database-related

2                              operations not relied upon by the expert in the opinions contained in

3                              his or her final report, except as set forth in 2(b).

4           b. The parties agree that they will disclose the following materials with all expert

5              reports:

6                         i.   a list by Bates number of all documents relied upon by the testifying

7                              expert(s); and copies of any materials relied upon by the expert not

8                              previously produced that are not readily available publicly;

9                      ii.     for any calculations appearing in the report, all data and programs

10                             underlying the calculation, including all programs and codes

11                             necessary to recreate the calculation from the initial (“raw”) data

12                             files.

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1    D. MOTIONS AND BRIEFING

2         1. Plaintiff’s memorandum in support of its motion for a preliminary injunction is not to

3            exceed 25 pages.

4         2. Defendants’ opposition to Plaintiff’s motion for a preliminary injunction is not to

5            exceed 25 pages.

6         3. Plaintiff’s reply memorandum support of its motion for a preliminary injunction is not

7            to exceed 15 pages.

8         4. Each side’s proposed pre-trial findings of fact and conclusions of law, collectively,

9            shall not exceed 50 pages.

10        5. Any briefs in support of, or in opposition to, motions in limine, including any Daubert

11           motions, shall not exceed 10 pages.

12        6. Each side’s post-trial proposed findings of fact and conclusions of law shall not

13           exceed 100 pages.

14   E. OTHER ISSUES

15        1. Privilege Log. The parties agree to suspend the obligations of Federal Rule of Civil

16           Procedure 26(b)(5)(A) to produce a log of privileged materials withheld from

17           discovery taken in this action (excluding Defendants’ productions made during the

18           course of the FTC’s pre-complaint investigation). Notwithstanding the foregoing, the

19           parties shall individually log withheld materials that are authored by, addressed to, or

20           received from any non-party; and will categorically log materials that are (1) internal

21           to a party that are not authored by, sent to, or received from the party’s attorneys or

22           employed FTC staff economists from the Bureau of Economics, unless such person

23           serves as an expert or submits any written or oral testimony in this matter; (2)

24           authored by, addressed to, or received from any party executive who serves both in-

25           house business and legal roles; (3) authored by, addressed to, or received from any

26           executive who has a law degree, even if the executive is not a practicing attorney; and

27           (4) authored by, addressed to, or received from any domestic or foreign regulatory

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1            authorities. For purposes of this paragraph, a “non-party” excludes a party’s retained

2            expert and employees of such expert within the meaning of Federal Rule of Civil

3            Procedure 26(b). The parties shall preserve all documents responsive to a discovery

4            request that they withold pursuant to a claim of privilege or protection.

5         2. Modification of Scheduling and Case Management Order. Any party may seek

6            modification of this Order for good cause, except that the parties may also modify

7            discovery and expert disclosure deadlines by agreement.

8         3. Reservation of Rights. Nothing in this Discovery Plan shall limit the parties’ ability

9            to object to, move to quash, or otherwise challenge any request for discovery or

10           deposition notice under the Federal Rules of Civil Procedure.

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1                               EXHIBIT A: PROPOSED SCHEDULE

2                               Event                                     Date(s)

3      Discovery Commences                                    August 12, 2022
4      Plaintiff’s Preliminary Fact Witness Lists             September 2, 2022
5      Defendants’ Preliminary Fact Witness Lists             September 8, 2022
6      Deadline to Serve Written Discovery to Parties         September 12, 2022
7      Close of Party Fact Discovery                          October 26, 2022
8      Plaintiff Serves Initial Expert Report(s)              October 27, 2022
9      File and                                               October 28, 2022 at 5 p.m.
       Exchange of Final Party Fact Witness Lists
10                                                            Eastern Time
11     Plaintiff’s Memorandum of Law in Support of
                                                              October 31, 2022
12     Preliminary Injunction Motion
13                                                            November 11, 2022
       Defendants Serve Expert Report(s) and file
14

15     Defendants’ Opposition to Plaintiff’s Motion for
                                                              November 14, 2022
16     Preliminary Injunction
17     File and                                               November 18, 2022 at 5 p.m.
       Exchange of Final Non-Party Fact Witness Lists
18                                                            Eastern Time
19    File and                                                November 18, 2022 at 5 p.m.
      Exchange of Exhibit Lists
20                                                            Eastern Time
21     Close of Non-Party Fact Discovery                      November 18, 2022
22     Plaintiff Serves Rebuttal Expert Report(s) and files   November 21, 2022
23     Pre-Hearing Proposed Findings of Fact and
                                                              November 21, 2022
24     Conclusions of Law
25     Plaintiff’s Reply to Defendants’ Opposition to
                                                              November 21, 2022
26     Preliminary Injunction Motion
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1                             Event                                       Date(s)
                                                                        21
2      Last Day for Motions In Limine to Be Filed              November 28, 2022
3      Close of Expert Discovery                               December 5, 2022
4      Last Day for Responses to Motions In Limine to Be       November 28
                                                               December 5, 2022
5      Filed
6      Post-Hearing Proposed Findings of Fact and
                                                               To be determined by the Court
7      Conclusions of Law
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10         This order has been entered after consultation with the parties.
                                                            6th day of
           PURSUANT TO STIPULATION, IT IS SO ORDERED, this _____
11
      September
     ________________,   22
                       20_____.
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14                                                  ___________________________
                                                    Honorable Edward J. Davila
15
                                                    United States District Judge
16                                                  Northern District of California

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1    Dated: August 22, 2022

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6                                                         Counsel for Defendant Within Unlimited, Inc.
7

8

9                                       FILER’S ATTESTATION

10   I, Abby L. Dennis, am the ECF User whose ID and password are being used to file this

11   [PROPOSED] JOINT STIPULATED DISCOVERY PLAN AND BRIEFING SCHEDULE. In

12   compliance with Civil Local Rule 5-1(h), I hereby attest that concurrence in the filing of this

13   document has been obtained from each of the other signatories.

14                                                                        By: /s/ Abby L. Dennis

15                                                                               Abby L. Dennis

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